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BARRY ROSEN

136 S. Clark Dr. #5

Los Angeles, CA 90048
Tel: (323) 653-2043

  
    
    

FILED

CLERK U.S. DISTRICT COURT

 

   

In Pro Per SAT DISTRICT OF CALIFCT
UNITED STATES DISTRICT COUR
CENTRAL DISTRICT OF CALIFORNIA
BARRY ROSEN, an Case No. 18-cv-00215-CAS-Ex
Individual Hon. Christina A. Snyder Presiding
Plaintiff,
PLAINTIFE’S SUPPLEMENTAL
Vs. BRIEF RE: APPLICATION FOR
DEFAULT JUDGEMENT ON
HOLLYWOOD SHOW, LLC, a MYRON ROSS dba HEROES
California limited liability company; AND LEGENDS
MYRON ROSS, an individual residing
in California, individually and doing [Filed concurrently herewith:

business as “HEROES & LEGENDS”; | Declaration of Barry Rosen

and DOES 1 through 10,
Defendants. Date: NA

Time: NA

Courtroom 8D, 8th floor

 

 

TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR
ATTORNEYS OF RECORD:

Pursuant to the Courts December 16, 2019 order (Dkt. 105), Plaintiff Barry
Rosen, acting pro per, submits this supplemental brief and response to the

statement by Myron Ross (Dkt. 106).

PLAINTIFF’S SUPPLEMENTAL BRIEF RE; JUDGMENT ON DEFENDANT MYRON ROSS DBA HEROES
AND LEGENDS
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I. DAMAGE AWARD PRECEDENT
Plaintiff offers up the following cases that have involved various judgments,
along with other licensing information to demonstrate justification for a higher
financial damage award:
1. In 2:07-cv-03515-ABC-E, Plaintiff received judgment of
$15,000.00 for a one (1) image infringement (non-willful) (Dkt.
146) and $400,000.00 for a three (3) image infringement
(willful) (Dkt. 147).

2. In 2:10-cv-02721-DMG-E, Plaintiff received judgment of
$45,000 for a multiple image infringement (Dkt. 133).

3. In 2:11-cv-04465-RSWL-AJW, Plaintiff received judgment of
$600,000.00 for a four (4) image infringement (willful) (Dkt.
17).

4, In 2:12-cv-00657-FFM, Plaintiff received a jury judgment of up
to $3,000.00 per infringement for willful infringement

5. In 2:15-cv-05789-ODW-JC, Plaintiff received a judgment of
$15,000.00 for one (1) infringement (Dkt. 70).

6. Attached hereto as Exhibit 1, Plaintiff also submits various

invoices showing actual licensing fees for similar images of
$6,000.00 to $10,000.00 for a limited term single usage.

As Defendant Ross has directly and fully admitted to court that he did
engaged in both direct and vicarious infringement of Plaintiffs photographic work
at issue in this action, and because it is clear that such infringement was done with
both willful blindness and a clear reckless disregard for copyright law, Plaintiff
believes that an award of $150,000.00 is warranted and justified. (See Columbia

PLAINTIFF’S SUPPLEMENTAL BRIEF RE; JUDGMENT ON DEFENDANT MYRON ROSS DBA HEROES
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Pictures Industries, Inc. v. Fung; 710 F.3d 1020 (9th Cir. 2013), Grokster, 545
USS. 913 (2015))

Wl. RE: ROSS STATEMENT

While the Court gave Mr. Ross leave to file a statement in order to
demonstrate why the Court should now set aside the pending default judgment, Mr,
Ross has failed to demonstrate any facts whatsoever as to a any reason why he
fully failed to appear in this Action, after having being served with the subpoena,
complaint, etc. and also having acknowledged that fact to Plaintiffs former
counsel. Instead, Mr. Ross uses the statement opportunity in an attempt to mitigate
his own recklessness in engaging in ongoing infringing activities by attempting to
place the blame on other parties. While other parties such as Hollywood
Show/David Elkouby are initially responsible (and liable) for creating the
unauthorized infringing prints, Mr. Ross has an affirmative obligation under the
law (17 U.S.C §109, et el) to ensure that items he purchases for potential resale as
part of his “autograph dealer” business, are lawfully made (i.e. authorized) copies,
prior to purchase of such copies. Without fulfilling his legal obligations, the
purchase, possession, display and resale (and profiting therefrom) of such
unauthorized prints constitutes direct and vicarious infringement. Mr. Ross’ letters
to Plaintiff's previous counsel, along with statements made directly to the Court,
and his statement, clearly demonstrate that Mr. Ross engaged in infringing acts,
including direct infringement and vicarious infringement (by selling at least 2
unauthorized prints, including the one sold directly to Plaintiff).

Mr. Ross’ statement also clearly demonstrates his own ongoing recklessness
in his business practices. While Ross has been doing business for a very long time

as a so called “autograph dealer,” it is disturbingly clear that he has never bothered

PLAINTIFF’S SUPPLEMENTAL BRIEF RE; JUDGMENT ON DEFENDANT MYRON ROSS DBA HEROES
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to determine any of his legal obligations under copyright law for operating such a
business, that is heavily based on the sale/resale photographic prints. If Mr. Ross
were to have done so, he would be aware of the fact that under the 1978 copyright
laws, all photographs created in the United States are vested with copyright from
their creation by their author (17 U.S.C §101, et seq) and that formalities (i.e.
notice of copyright ownership) was dropped as a requirement nearly three (3)
decades ago. Furthermore, had he done his due diligence, he would be aware that
his own actions (including buying, selling and displaying unauthorized photo
prints), constitutes both direct and vicarious copyright infringement. Recklessness
can constitute willful infringement, and can be established by an infringer’s
knowing reliance on obviously insufficient oversight mechanisms. (See Unicolors,
Inc. v. Urban Outfitters, Inc., 853 F.3d 980, 992 (9th Cir. 2017); Friedman v.
Live Nation Merch., Inc., 833 F.3d 1180, 1186-87 (9th Cir. 2016)).

Finally, as a demonstration of the fact that Mr. Ross’ business is
predominantly and heavily based on the sale/resale of photographic prints, attached
hereto as Exhibit 2 and 3 are copies of photos taken by Plaintiff at a Hollywood
Show event, showing the Heroes and Legends booth/tables and the sheer volume
of prints that Mr. Ross offers for sale. Given that volume, it is fortuitous that
Plaintiff even located the infringing print in the first instance, thereby also
demonstrating why the Court should restrain Mr. Ross from engaging in further
business activities, in order to prevent any further infringements. Thus, the Court

should now grant the default judgment.

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PLAINTIFF’S SUPPLEMENTAL BRIEF RE; JUDGMENT ON DEFENDANT MYRON ROSS DBA HEROES
AND LEGENDS
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Respectfully submitted,

Dated: January 6, 2020

 

 

Plaintiff Barry Rosen, In Propria Persona

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PROOF OF SERVICE
Case No. 18-cv-00215-CAS-Ex
On January 6, 2020, I served the documents described as:

PLAINTIFF’S SUPPLEMENTAL BRIEF RE: APPLICATION FOR
DEFAULT JUDGEMENT ON MYRON ROSS dba HEROES AND
LEGENDS

by serving them on Myron Ross by mail pursuant to FRCP 5

at his home address of
5333 Zelzah Ave, Apt 303,
Van Nuys, CA 91316.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 6, 2020 at Los Angeles, California.

 

 

Barry Rosen

PROOF OF SERVICE

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Exhibit 1
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‘i
14/8/03
RE: Anna Koumikova
1 time usage for all cover onty $ 10,000.00 USD
Total $ 10,000.00 USD
Payment Wire information

 
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Invoice

 

RE: Anna Kournikova —

Anna Kournikova 1 time editorial usage for Cover $8000.00 USD

Total $ 8000.00 USD

Payment Wire Information

 
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Hf

 

Invoice
22/9/03
RE: Daisy Fuentes
Daisy Fuentes 1 time editorial usage for BE cover $6000.00 USD

Total $ 6000.00 USD

Payment Wire Information

 

Jo
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Exhibit 2

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Exhibit 3

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